Case 1:23-cv-05571-VEC Document1 Filed 06/29/23 Page 1 of 14

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

DIVANNA ALTAGRACIA NUNEZ

RODRIGUEZ-JIMENEZ MENCIA

Petitioner, Civil Action: 1:23-cv-05571
VS.

LUIS CLEY PORTES PAREDES,

Respondent.

 

VERIFIED PETITION FOR RETURN OF CHILD TO
SWITZERLAND AND ISSUANCE OF SHOW CAUSE ORDER

The Convention on the Civil Aspects of International Child Abduction done, at The
Hague on October 25, 1980; The International Child Abduction Remedies Act, 22 U.S.C.
9001 et seq.
INTRODUCTION
Petitioner, Divanna Altagracia Nunez Rodtiguez-timenez Mencia (the “Mother’), by and
through her undersigned attorneys files this Verified Petition for return of the child to Switzerland
(hereinafter “Petition”), against Respondent, Luis Cley Portes Paredes, (the “Father”’). The
Petition is filed as a result of the Father’s unjust and wrongful retention of the parties’ daughter,
K.L.P.P., born in Switzerland, age 6 (the child”)! The Father has removed the child from

Switzerland to the United States, with the permission of the Mother for a limited time. The

wrongful retention of the child occurred on or about August 9, 2022, when the child was supposed

 

' pursuant to Fed. R. Civ. P. 5. 2(a}, the minor child’s initials are used here in lieu of her full name, her name
has been redacted from all exhibits, her birthday is referred to herein only by the year of her birth and her birth has
been redacted from all exhibits.
Case 1:23-cv-05571-VEC Document. Filed 06/29/23 Page 2 of 14
to be returned to Switzerland. Mother purchased a return ticket for the child on September 4, 2023,
and the Father has refused to return the child and wrongfully detained her in the United States.

1. This Verified Petition is brought pursuant to The Convention on the Civil Aspects of
International Child Abduction, done at the Hague on October 25, 1980 (hereinafter the “Hague
Convention” or “Convention”)’ and the International Child Abduction Remedies Act (hereinafter
“ICARA”).? A copy of the Hague Convention is attached to this Petition as See Exhibit “A”.
The Convention came into effect in the United States of America on July1, 1988 and has been
ratified between, among other “contracting States” (as that term is defined in the Convention),
the United States of America and Switzerland, See United States Department of State’s Hague
Abduction Convention Country List, available at: |
http://travel.state.gov/abduction/resources/ congressreport/congressreport_1 487 html.

2. The objects of the Convention are as follows: (1) to secure the immediate return
of a child (or children) wrongfully removed or wrongfully retained in any Contracting state; and
(2) to ensure that rights of custody and of access under the law of one Contracting State are
effectively respected in other Contracting States, Convention, Art. 1. Pursuant to Article 11 of the
Convention, “judicial or administrative authorities of Contracting States shall act expeditiously in
proceedings for the return of the children.” Thus, Mother asks the Court for expedited review and
hearing of this Petition.

JURISDICTION AND VENUE

3. This Court has jurisdiction under 22 U.S.C s 9003(a) because this is an action

arising under the Hague Convention and because this case involves the wrongful retention of a

child under the age of sixteen from the child’s habitual residence of Switzerland and the child is

 

? Oct. 25, 1980, I.1.A.S. No. 11,670 at 1, 2254 U.N.T.S. AT 98, reprinted in 51 Fed. Reg. 10494 (1986).
341 .U.S.C. §§ 12601-11610 (2011).
Case 1:23-cv-05571-VEC Document 1 Filed 06/29/23 Page 3 of 14
currently located within the jurisdiction of this Court at Father’s residence at 3913 Rombouts
Avenue, Bronx, New York 10466. This Court also has jurisdiction pursuant to 28 U.S.C. § 1331
because this is a civil action arising under Federal law and a treaty of the United States.

4, This Court has personal jurisdiction over Father because, upon information and
belief, he is presently within the Southern District of New York, will be personally served with
process here, and is wrongfully detaining the Child in the district.

5. Venue is proper in the District under 28 U.S.C. § 1391(b)(1) because Respondent resides
in this district. 2

STATUS OF PETITIONER AND CHILD
6. The Petitioner (Mother), and Respondent (Father), are the parents of K.L.P.P., (the

“Child”). Mother and Father were never married. K.LPP. is 6 years old. A copy of K.L.P.P.’s
redacted birth certificate is attached as Exhibit “BP. The Convention applies to cases where a

child under the age of sixteen years has been removed from his or her habitual residence’ in breach

 

4 The Supreme Court of the United States in Monasky v. Taglieri, 140 S. Ct. 719 (2020) finally established a
uniform analysis to determine a child’s habitual residence. In Monasky, the Court stated that habitual residence is
heavily fact driven and should be determined by the totality of the circumstances making a fact driven inquiry that
is “sensitive to the unique circumstances of the case and is informed by common sense.” It held that “there are no
categorical requirements for establishing habitual residence — least of all an actual agreement requirement for
infants.” The Court further stated that “[c]lommon sense suggests that some cases will be straight forward: Where a
child has lived in one place with her family indefinitely, that place is likely to be [his]r habitual residence.” /d. at
727. Moreover, “Courts in both the United States and foreign jurisdictions have defined habitual residence as the
place where [the child] has been physically present for an amount of time sufficient for acclimatization and which
has a degree of settled purpose for the child’s perspective.” Pesin v. Rodriguez, 77 F.Supp. 2d 1277, 1294 (S.D. Fl.
1999) (citations omitted), aff’d, Pesin v. Rodriguez, 244 F.3d 1250 (11" Cir. 2001); Morris at 1161 (“the law requires
[the Court] to focus on the child in determining habitual residence”); see also In re Robinson, 983 F.Supp. 1339, 1341-
42 (D. Colo. 1997). It is a state of being or state of mind. Habitual residence is the permanent physical residence of
the child as distinguished from their legal residence or domicile. In re Bates, No. CA 122-89, High Court of Justice,
Family Div., England, February 23, 1989; Brooke v. Willis, 907 F.Supp. 57, 61 (S.D.N.Y. 1995): see also T.B. v. J.B., 2000
WL 1881251, at *1 (Supreme Court of Judicature, England, December 19, 2000) (stating that it is important to
remember that the Convention is concerned with the return of a child to the country of their habitual residence and
not with their return to any particular person).
Case 1:23-cv-05571-VEC Document i Filed 06/29/23 Page 4 of 14

of rights of custody of a petitioner, which the petitioner had been exercising at the time of the
wrongful removal? of the child. :
7.  Atthe time of wrongful retention of the Child (as specifically set forth

below), Mother was exercising custody rights within the meaning of Articles 3 and 5 of the
Convention,° in that she is the Mother of the child and has exercised custody rights over the child
since she was born. Furthermore, the child habitually resided with Mother in Switzerland within
the meaning of Article 3 of the Convention since she was born there, and until her wrongful
retention in the Bronx, New York, in the United States of America.

8. Mother has requested the return of the child. The Request for Return is attached hereto
as Exhibit “C”. The Request for Return has been filed with the Federal Office of Justice, Central
Authority in Matters of International Child Abduction in Switzerland on April 12, 2023, and the
United States Department of the State, the central authority of the United States of America under
the Convention, which asked the Father to return the child on May 10, 2023. Exhibit “D”.

9. At the time immediately before the wrongful retention of the child, Father resided at

3913 Rombouts Avenue, Bronx, New York 10466 and Mother and child habitually resided in

 

5 “Article 3 of the Hague Convention provides that the removal or retention of a child is wrongful where it
violates the custody rights of another person that were actually being exercised at the time of the removal or
retention or would have been exercised but for the removal or retention.” Lops, 140 F.3d at 935;” “[t]he removal of
a child from the country of his or her habitual residence is ‘wrongful’ under the Hague Convention if a person in that
country is, or would otherwise be, exercising custody rights to the child under that country’s law at the moment of
removal.” Friedrich v. Friedrich, 78 F.3d 1060, 1064 (6* Cir. 1996); see Prevot v. Prevot, 59 F.3d 556 (6" Cir. 1995);
Convention, Art. 3.

© The issue of “custody” must be addressed under switzerland law. See also Whallon v. Lynn, 230 F.3d 450
(1* Cir. 2000); Freidrich v. Friedrich, 983 F.2d at 1402; Ohlander v. Larson, 114 F.3d 1531, 1541 (10° Cir. 1997)(stating
that the Convention was meant, in part, to lend priority to the custody determination hailing from the child’s state
of habitual residence). Pursuant to Article 14 of the Convention, this Court “may take notice directly of the law
of...the State of the habitual residence of the child, without recourse to the specific procedures for the proof of that
law...” See also Fed. R. Civ. P. 44.1.
Case 1:23-cv-05571-VEC Document 1 Filed 06/29/23 Page 5 of 14

Switzerland within the meaning of Article 3 of the Convention. The child went to school in
Switzerland and was completely settled in Switzerland and integrated in Switzerland’s culture.

10. The Mother was born on May 2, 1990 in the Dominican Republic, moved to
Switzerland in 1996 and grew up in Switzerland. The Mother is a Swiss citizen and holds a Swiss
passport.

11. Pursuant to the Declaration of Shared Parental Responsibility dated December 23,
2020, Father was granted parenting time with the child for four weeks during summer holidays in
even years beginning in 2021 and for two weeks during summer holidays and two weeks during
Christmas holidays in odd years. Father was to have parenting time with the child for two weeks
in 2023 and the Mother had agreed for the child to stity longer this summer, until August 9, 2022.
When the Mother asked for the child to return to Switzerland, the Father did not return the child.
Mother paid for a return ticket for the child on September 4, 2023, but Father has not returned the
child. Mother has no direct communication with Father, but has communication with his partner,
Ana Parra. Father has blocked any calls from Mother and Ms. Parra has refused to allow the
Mother to speak to the child.

12. The Father was born in the Bahamas on May 23, 1986, is a United States citizen and
has a United States passport.

13. The Father is holding the child. Mother believes the child is enrolled and goes to
School in Bronx, New York, at Our Lady of Refuge School.

14. The child is officially listed as missing by the Switzerland police. See Exhibit E.
Case 1:23-cv-05571-VEC Document 1 Filed 06/29/23 Page 6 of 14

COUNT I-WRONGFUL RETENTION OF CHILD BY FATHER UNDER THE
CONVENTION AND THE ACT

15. The Convention applies to cases where a child under the age of sixteen (16) years has
been removed or retained from his or her habitual residence in breach of rights of custody of a
Petitioner, which the Petitioner had been exercising at the time of the wrongful removal or
wrongful retention of the child. !

16. The Child is under the age of sixteen (16).

17. The habitual residence of the Child is Switzerland, where she was born and has always
lived before being taken to the United States. :

18. The Child had lived in Switzerland since her birth and had settled and integrated into
Switzerland lifestyle and culture. The Child has lived her whole life in Switzerland with her family
and friends, established close relationships, friendships, and socialized with same.

19. At the time of the Father’s wrongful retdntion of the child in the United States, the
Mother had and continued to have rights of custody under Switzerland law.

20. The Custody law in Switzerland is by Article 301a, attached to the Request for Return
(Exhibit “C”) states:

Under Swiss Laws and Regulations, when the parents share parental responsibility (legal
custody) for their minor child, pursuant to Article 301a:

Parental responsibility includes the right to decide on the child’s place of
residence. If parents exercise joint responsibility and if one parent wishes
to change the child’s place of residence, this requires the consent of the
other parent or a decision of the court or the child protection authority if:

a. the new place of residence is outside Switzerland; or

b. the change of place of residence has serious consequences for the ability
of the other parent to exercise parental responsibility and have contact.
Case 1:23-cv-05571-VEC Document 1 Filed 06/29/23 Page 7 of 14

21. Mother has rights of custody under Switzerland law cited above which establishes that
both parents must affirmatively consent to the child leaving the parental home and her remaining
away in the Bronx. The retention of the child in the Bronx, is therefore in violation of the
Switzerland law.

22. At all times Mother had rights of custody with respect to the Child within the meaning
of Article 3 of the Hague Convention. |

23. At all times prior, the Mother exercised custody over the Child within the meaning of
Articles 3 and 5 of the Hague Convention, in that among other things she has continuously and at
all times lived with the Child and provided emotional support and well-being to the Child, and has
provided financial support for her family.

24. The Mother has never consented to or acquiesced in the Respondent’s wrongful
retention of the Child in the United States.

25. The conditional consent of the Mother for the Father to take the Child to the United
States was for two weeks in the summer as outlined in the parties Declaration on Shared Parental
Responsibility to which the Mother agreed for the child to stay with Father for a longer period of
time and the Father has refused to return the Child to Switzerland, despite the fact that the Mother
purchased a return ticket for the child to return on September 4, 2023.

26. The Father’s actions demonstrate a wrongful retention in that the Mother only
consented for time over the two weeks allotted. © Father has refused to return the child to
Switzerland. Thus, the Father’s willful act of parental child abduction, refusing to return the child
demonstrates an interference with the Mother’s custodial rights, and such rights would have been

exercised, but for the child abduction.
Case 1:23-cv-05571-VEC Document 1 Filed 06/29/23 Page 8 of 14

27. Attempts have been made with Father for the voluntary return of the child to
Switzerland through the State Department by letter to the Father dated May 10, 2023.

28. In light of the stated Switzerland law and the Convention, the child is currently being
illegally held in custody, confinement and/or restraint by Father. Unless this Court takes
immediate action to bring Father before the Court, irreparable harm will occur to the well-being
of the child in that she is denied access to her Mother, home, school, friends, and culture because
she is being wrongfully detained in the United States of America. Unless a show cause order is
issued, Mother will continue to have no proper contact whatsoever with her child.

29. Accordingly, the Father has wrongfully retained the Child away from her habitual
residence in Switzerland in breach of Article 3 of the Hague Convention.

30. As of today, Mother continues to be deprived of her parental rights to the Child.

31. On or about April 12, 2023, Mother filed her Hague Application with the F ederal Office
of Justice, Central Authority in Matters of International Child Abduction in Switzerland. See
Exhibit “C”. The Application has been transmitted to the United States Department of State, the
Central Authority of the United States of American under the Convention.

32. The Father has refused and continues to refuse to return the Child to Switzerland from
the United States.

33. Upon information and belief, and information from the State Department, the Child is
currently physically located within the Southern District of New York, with the Father at his
present place of residence believed to be at 3913 Rombouts Avenue, Bronx, New York 10466.

34. Unless the Court takes immediate action to bring the Father before the Court,
irreparable harm will continue to affect the well-being of the Child in that the Child will continue

to be wrongfully detained in the United States and hence denied access to her Mother.
Case 1:23-cv-05571-VEC Document 1 Filed 06/29/23 Page 9 of 14

35. Unless an Order is issued for the immediate return of the Child to her habitual residence
of Switzerland, Mother will continue to be denied her rights of custody over her Child and will be
further deprived of any contact with the Child. :

36. The Father’s unlawful act of parental child abduction by failing to return the Child to
Switzerland is a wrongful removal and retention, pursuant to Art. 3 and Art. 5 of the Convention.
Father’s action of child abduction invokes the remedies available, pursuant to the Hauge
Convention, which is the “prompt” return of the child to Switzerland.

COUNT I-ARTICLE 18 RETURN

37. The Mother restates and re-alleges the allegations contained in Paragraphs 1 to 36 as
if fully set forth herein.

38. The Mother invokes Article 18 of the Convention, which grants this Court plenary
power to order the child’s return at any time.’ i

PROVISIONAL AND EMERGENCY REMEDIES’

39. The Mother requests that the Court issue a Show Cause Order forthwith ordering the
appearance of the Father and the child before this Court on the first available date on the Court’s
calendar and directing the United States Marshal to serve the Show Cause Order on the Father

forthwith.? An expedited hearing should be held within 6 weeks of this application.

 

7 See Convention, art. 18; see also 51 Fed. Reg. 10, 494, 10,509 (1988)(legal analysis of the Hague
Convention by the U.S. Department of State); in re B. Del C. S:B., 599 F.3d 999, 1015-16 (9** Cir. 2009}; Alcala v.
Hernandez, 826 F.3d 161 (4"" Cir. 2016) de Silva v. Pitts, 481 F.3d 1279, 1285 (10" Cir. 2007)(“In fact, even if a defense
is established, a court still has discretion to order the return of the child if it would further the aim of the Convention
which is to provide for the return of a wrongfully removed child.”)

® This Court “[i]n furtherance of the objectives of...the Convention...may take or cause to be taken measures
under the Federal or State law, as appropriate, to protect the well-being of the child involved or to prevent the
further removal or concealment before the final disposition of the petition.” ICARA §9004.

° Such an approach is consistent with the approach of the district courts faced with equivalent concerns
regarding the flight of a respondent following service of a petition for return under the Convention. See Ohlander
v. Larson, 114 F.3d 1531, 1535 (10* Cir. 1997)(The Petitioner “secured an ex parte Order for issuance of Warrant in

9
Case 1:23-cv-05571-VEC Document1 Filed 06/29/23 Page 10 of 14

40. Pursuant to ICARA § 9004, in a proceeding of a child, “[n]o court exercising
jurisdiction...may...order a child removed from a person having physical control of the child
unless the applicable requirements of State law are satisfied.” ICARA § 9004. In this case, the
law referred to is that of New York. In New York, the Uniform Child Custody Jurisdiction and
Enforcement Act (hereinafter “UCCJEA”) is the source for statutory law governing, inter alia, the
resolution of both domestic and international child custody disputes and is codified at New York
Dom Rel. Law §75 et seq. New York law addresses the appearance of the parties and children in
such cases in UCCJEA. Dom Rel. Law §76-i. That section authorizes the Court to order the
appearance of the child and custodian or custodians together. Ibid. This Court therefore has the
authority to issue a show cause order, ordering the appearance of the Father and child in that the
provisions of 22 U.S.C. § 9004 can be met.

41. The Mother further requests that this Court issue along with the Show Cause Order,
an Order prohibiting the removal of the child from the jurisdiction of this Court during the
pendency of the proceedings in this Court, am Order taking into safe-keeping the Father’s and the
child’s travel documents, and thereafter an Order setting an expedited hearing of the Verified
Petition for Return of the Child to Switzerland.'° The Mother also requests that she be allowed to
appear by contemporaneous means and that the attoriieys may appear by virtual means (Zoom or

other methods).

 

Lieu of Writ of Habeus Corpus from the district court, directing officers to take [the child] into protective custody
and to release her to [the Mother], but prohibiting [the Mother] from removing [the child] from Utah pending further
order.”)

*0 Such a Petition may also be treated as an application for a Writ of Habeas Corpus itself. Zajaczkowski v.
Zajaczkowska, 932 F. Supp. 128, 132 (D.Md. 1996) (“[T]he Court will treat the [Convention] petition as an application
for a writ of habeas corpus...pursuant to 28 U.S.C.A. § 2243”); see also Ohlander, 114 F.3d at 1535.

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Case 1:23-cv-05571-VEC Document 1 Filed 06/29/23 Page 11 of 14

UCCJEA DECLARAT ION
42. Pursuant to the details regarding the child that are required to be provided under
the UCCJEA are as follows: |
e From birth to July 9, 2022, the date the Father took the child to the United States,
the child resided solely with the Mother, and remained in the United States past the
two weeks Father was permitted parenting time with the child, as a result of his
wrongful retention. Upon information and belief, the Father is living at 3913
Rombouts Avenue, Bronx, New York at the present time.

e As aresult of the Father’s wrongful retention of the child in the United States from
Switzerland, the child has been physically located here.

e The Mother is unaware of any other proceeding in any jurisdiction that may affect
the current proceeding.

e The Mother does not know of any person or institution not a party to the
proceedings that has physical custody of the child or claims to have rights of
parental responsibility or legal custody or physical custody of, or visitation or
parenting time, with the child.

NOTICE OF HEARING
43. Pursuant to ICARA § 9003(c), the Father will be given notice of any hearings in

accordance with the UCCJEA.!!

 

11 The Convention itself does not specify any specific notice requirements, ICARA provides that notice be
given in accordance with the applicable law governing notice in interstate child custody proceedings. ICARA §
9003(c).

11,
Case 1:23-cv-05571-VEC Document 1 Filed 06/29/23 Page 12 of 14

ATTORNEYS’ FEES AND COSTS INCLUDING TRANSPORATION EXPENSES
PURSUANT TO CONVENTION ARTICLE 26 AND ICARA § 9007
44, The Mother has incurred expenses as a result of the wrongful retention of the child by
the Father. The Mother will submit a copy of all expenditures as soon as practicable and possible
and will amend these costs, from time to time, according to proof and in light of further expenditure
required because of the Father’s wrongful retention of the child.
45. The Mother respectfully requests that this Court award all legal costs and fees incurred
to date as required by ICARA § 9007, reserving jurisdiction over further expenses.
RELIEF REQUESTED
WHEREFORE, the Petitioner Mother, DIVANNA ALTAGRACIA NUNEZ
RODRIGUEZ-JIMENEZ MENCIA, respectfully requests the following relief:

A. Allow Mother to testify by alternative means, i.e. Skype, telephone, video
conferencing, or other contemporaneous tiieans set by the Court, from Switzerland in
any evidentiary hearing including the final hearing to avoid the costs of her travel to
the United States; and

B. That this court issue an Order directing the prompt return of the child to her habitual
residence of Switzerland in accordance with Mother’s rights under the laws of New
York and Article 3, 5a, and 18 of the Convention: and

C. That this Court issue a Show Cause Order forthwith, to be served by the United States
Marshal which prohibits removal of the child from the jurisdiction of this Court and
ordering the Father to surrender the child’s American and Swiss passports and travel
documents to the United States Marshal immediately upon the service of the Order,

which shall be held for safekeeping by this court; and

12,
Case 1:23-cv-05571-VEC Document 1 Filed 06/29/23 Page 13 of 14

. That this Court issue a Show Cause Order forthwith to be served by the United States
Marshal, commanding the Father to appear with the child in this Court to show cause
why the child has been wrongfully retained in the United States kept from the Mother
in contravention of Switzerland Law and why the child should not be returned to
Switzerland immediately, where any appropriate custody matter may be determined
by a Switzerland court under Switzerland law.

. That if the Father fails to appear pursuant to this Court’s Show Cause Order, that this
Court issue an Order directing that the nantes of the child be entered into the National
Police computer system (N.C.I.C.) missing persons section and that an arrest warrant
immediately be issued for the Father; and |

. That this Court issue and Order providing for regular in-person and digital/telephone
access with the child immediately and when and if Mother travels to the United States
for and evidentiary hearing; and

. That this Court set a final hearing date: and

. That this Court enter an Order directing F ather to pay Mother’s reasonable legal
costs, fees, and expenses; and !

Any such further relief as justice and its cause may require.

13
 

 

Case 1:23-cv-05571-VEC Documenti Filed 06/29/23

Page 14 of 14

VERIFICATION

 

I, Divanna Altagracia Nunez Rodriguez-Jimenez Mencia, do solemnly declare and

affirm under the penalties of perjury under the laws of the United States of America that

the factual averments in the foregoing Verified Petition are true and correct to the. best of
my knowledge, information and belief,

~

Divanna Altagracia Nunez Rodriguez-Jimenez Mencia

Date
Respectfully submitted,

/s/ Elliot H. Gourvitz
By:

Elliot H. Gourvitz, Esq.
Ari H. Gourvitz, Esq.
Gourvitz & Gourvitz, LLC.
505 Morris Avenue, Suite 102
Springfield, New Jersey 07081
Telephone: (973) 467-3200
Facsimile: (973) 467-4091
eh ourvitz.com
ah ourvitz.com
Counsel for Petitioner

14

 
